                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                       AT CHATTANOOGA

  UNITED STATES OF AMERICA,

  v.                                                          Docket No. 1:18-CR-11
                                                              JUDGE MATTICE
  JERRY WAYNE WILKERSON,                                      MAGISTRATE JUDGE STEGER
  MICHAEL CHATFIELD,
  KASEY NICHOLSON,
  BILLY HINDMON, and
  JAYSON MONTGOMERY
         Defendants.


        JOINT DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO PROHIBIT
       IRRELEVANT AND UNQUALIFIED TESTIMONY ABOUT THE MEDICAL EFFICACY OF TOPICAL
                               CREAMS AND WELLNESS PILLS


          Comes now the Defendants, Jerry Wayne Wilkerson, Michael Chatfield, Kasey Nicholson,

  Billy Hindmon, and Jayson Montgomery, by and through undersigned counsel, and, having moved

  this Honorable Court for an order prohibiting all parties from offering testimony or evidence that

  the topical creams and wellness pills did not work or did not have a valid, medical use pursuant

  to Federal Rules of Evidence 401, 402, 403, and 702, provide this memorandum of fact and law.

  Background

          This case primarily focuses on the efforts of the Defendants in marketing compounding

  pharmacy products—topical creams and other products, such as wellness pills. The products

  were made from FDA-approved medications at compounding pharmacies. They were prescribed

  by physicians and nurse practitioners to patients. When the pharmacies filled the prescription,


                                     Page 1 of 6
      JOINT DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO PROHIBIT
     IRRELEVANT AND UNQUALIFIED TESTIMONY ABOUT THE MEDICAL EFFICACY OF TOPICAL
                             CREAMS AND WELLNESS PILLS
Case 1:18-cr-00011-HSM-CHS Document 164 Filed 06/18/19 Page 1 of 7 PageID #: 784
  the insurance company reimbursed the pharmacies for amounts consistent with the insurance

  companies’ set reimbursement rates.

          The Government has made allusions in the indictment that the topical creams or other

  medications were not effective or medically necessary For example, the indictment states, “The

  defendants informed the customers that the creams and medications would treat a variety of

  ailments, including pain, eczema, psoriasis, stretch marks, warts and other conditions.” [Doc. 65,

  Second Superseding Indictment, ¶2]. By implication, this allegation asserts that the creams did

  not effectively treat these conditions. Later, the indictment alleges “compounded drugs, drugs

  which were exorbitantly priced and for which there was little if any medical necessity.” [Id. Count

  179].

          The reality is that the creams and other medications were effective in treating patient’s

  conditions. Certainly, like any treatment—pharmaceutical or otherwise— some patients would

  certainly have better results than others. Whether or not the creams and medications were

  effective does not impact any element of any of the crimes in the 179 counts that are charged in

  this indictment.

  Argument

          The first question for a court considering the admissibility of evidence is whether the

  evidence is relevant. Koloda v. General Motors Parts Div., General Motors Corp., 716 F.2d 373,

  375 (6th Cir. 1983). Only evidence that tends to make a fact of consequence more or less

  probable is relevant, and only relevant evidence is admissible. Id.; Fed. R. Evid 401 and 402; See

  also United States v. Schrock, 855 F.2d 327 (6th Cir. 1988).


                                     Page 2 of 6
      JOINT DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO PROHIBIT
     IRRELEVANT AND UNQUALIFIED TESTIMONY ABOUT THE MEDICAL EFFICACY OF TOPICAL
                             CREAMS AND WELLNESS PILLS
Case 1:18-cr-00011-HSM-CHS Document 164 Filed 06/18/19 Page 2 of 7 PageID #: 785
         Any assertion by the government that the compounded medications were not effective

  treatments in no way proves or disproves any element of any of the numerous charged crimes in

  this indictment. In reality, whether these creams had truly miraculous results or if they had no

  effect at all on a patient’s health, it does not change whether any of the defendants’ actions and

  alleged actions constitute the crimes of wire fraud, mail fraud, health care fraud, illegal

  remuneration, aggravated identity theft, and money laundering conspiracy.

         Furthermore, to the extent that a supposed lack of effectiveness of the medication is

  probative, it is inadmissible under Federal Rule of Evidence 403 which excludes relevant evidence

  “if its probative value is substantially outweighed by a danger of…unfair prejudice, confusing the

  issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

  evidence.” Fed. R. Evid. 403; United States v. Schrock, 855 F.2d 327, 333 (6th Cir. 1988).

         The probative value of such proffered evidence is nonexistent first and foremost because

  it isn’t true. The government has also not provided any notice of an intention to use any expert

  testimony in this trial. The government has not performed any laboratory analysis of the (now

  long-expired) medications in its possession. The government has no way to prove that the

  medication is not effective beyond anecdotal evidence of lay witnesses, which is inadmissible

  under Federal Rule of Evidence 701(c) (prohibiting opinion testimony by a lay witness based on

  scientific, technical, or other specialized knowledge).

         The prejudicial impact of such proffered evidence substantially outweighs the probative

  value. There is no question that the allegations regarding the effectiveness of the medication

  would confuse the jury, especially given that most of the allegations against the defendants


                                     Page 3 of 6
      JOINT DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO PROHIBIT
     IRRELEVANT AND UNQUALIFIED TESTIMONY ABOUT THE MEDICAL EFFICACY OF TOPICAL
                             CREAMS AND WELLNESS PILLS
Case 1:18-cr-00011-HSM-CHS Document 164 Filed 06/18/19 Page 3 of 7 PageID #: 786
  involve fraud, but do not involve the medication itself being fraudulent. The admission of such

  evidence would mislead the jury as to the motives of the defendants. Further, given that this trial

  is anticipated to last three to four weeks, the government should not be permitted to needlessly

  waste time introducing irrelevant and inadmissible evidence relating to the medical efficacy or

  necessity of the medications patients were prescribed.

  Conclusion

         The evidence that the medicine at issue here is ineffective is inadmissible because it is not

  probative of a material fact in this case. Furthermore, the government cannot conceivably prove

  this allegation without experts and laboratory analysis—which is impossible at this stage.

  Furthermore, the probative value of evidence that the defendants marketed medication that was

  not effective is substantially outweighed by its potential for unfair prejudice to the defendant

  and the likelihood of confusion with regard to the issues the jury will be called up on to decide.

         Respectfully submitted this 18th day of June, 2019.




                                                       s/ David M. Eldridge
                                                       DAVID M. ELDRIDGE (BPR # 012408)
                                                       ZACHARY R. WALDEN (BPR #035376)
                                                       ELDRIDGE & BLAKNEY, P.C.
                                                       The Cherokee Building
                                                       400 West Church Avenue, Suite 101
                                                       Knoxville, Tennessee 37902
                                                       (865) 544-2010
                                                       Attorneys for Michael Chatfield



                                                       s/Mark S. Thomas

                                     Page 4 of 6
      JOINT DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO PROHIBIT
     IRRELEVANT AND UNQUALIFIED TESTIMONY ABOUT THE MEDICAL EFFICACY OF TOPICAL
                             CREAMS AND WELLNESS PILLS
Case 1:18-cr-00011-HSM-CHS Document 164 Filed 06/18/19 Page 4 of 7 PageID #: 787
                                          MARK S. THOMAS
                                          Florida Bar No. 0001716
                                          THOMAS HEALTH LAW GROUP, P.A.
                                          5200 SW 91st Terrace, Suite 101-B
                                          Gainesville, FL 32608
                                          (352) 372-9990 (office)
                                          Attorney for Jerry Wayne Wilkerson



                                          s/ Brian L. O’Shaughnessy
                                          BRIAN L. O’SHAUGHNESSY (BPR #025991)
                                          O’SHAUGHNESSY & CARTER, PLLC
                                          735 Broad Street, Suite 1000
                                          Chattanooga, Tennessee 37402
                                          (423) 267-3807
                                          Attorney for Kasey Nicholson

                                          s/ Gianno Maio
                                          GIANNA MAIO, (BPR #024579)
                                          FEDERAL DEFENDER SERVICES OF EASTERN
                                          TENNESSEE
                                          835 Georgia Avenue, Suite 600
                                          Chattanooga, Tennessee 37402
                                          (423) 756-4349
                                          Attorney for Billy Hindmon

                                          s/ R. Dee Hobbs
                                          R. DEE HOBBS, (BPR #10482)
                                          P.O. Box 11308
                                          Chattanooga, Tennessee 37401
                                          (423) 266-6461 (Phone)
                                          (423) 756-8521 (Fax)
                                          Attorney for Jayson Montgomery




                                     Page 5 of 6
      JOINT DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO PROHIBIT
     IRRELEVANT AND UNQUALIFIED TESTIMONY ABOUT THE MEDICAL EFFICACY OF TOPICAL
                             CREAMS AND WELLNESS PILLS
Case 1:18-cr-00011-HSM-CHS Document 164 Filed 06/18/19 Page 5 of 7 PageID #: 788
                                        CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing pleading was filed electronically. Notice of
  this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
  on the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may
  access this filing through the Court’s electronic filing system.

         This 18th day of June, 2019.




                                                        s/ David M. Eldridge
                                                        DAVID M. ELDRIDGE




                                     Page 6 of 6
      JOINT DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO PROHIBIT
     IRRELEVANT AND UNQUALIFIED TESTIMONY ABOUT THE MEDICAL EFFICACY OF TOPICAL
                             CREAMS AND WELLNESS PILLS
Case 1:18-cr-00011-HSM-CHS Document 164 Filed 06/18/19 Page 6 of 7 PageID #: 789
                                     Page 7 of 6
      JOINT DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO PROHIBIT
     IRRELEVANT AND UNQUALIFIED TESTIMONY ABOUT THE MEDICAL EFFICACY OF TOPICAL
                             CREAMS AND WELLNESS PILLS
Case 1:18-cr-00011-HSM-CHS Document 164 Filed 06/18/19 Page 7 of 7 PageID #: 790
